Case 0:17-cv-60426-UU Document 379 Entered on FLSD Docket 12/10/2018 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                         Case No.
     Plaintiffs,
                                                                     0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                                   NOTICE OF SEALED FILING
         Pursuant to the Court’s Order dated September 19, 2018 (Dkt. 210) (the “Sealing Order”)
  and the Court’s Amended Protective Order entered December 8, 2017 (Dkt. 97) (the “Protective
  Order”), and consistent with this Court’s Order on Emergency Motion dated September 28, 2018
  (Dkt. 224) (the “Emergency Order”), Plaintiffs in the above captioned action, by and through
  their undersigned counsel, hereby provide notice pursuant to Local Rule 5.4(b)(1) of the filing of
  Plaintiffs’ Supplemented Trial Exhibit List and documents in connection therewith
  (collectively, the “Document”). A redacted version of the Document will be filed on the public
  docket in accordance with the Sealing Order.
         Good cause exists for sealing the Document because it contains references to material
  and information that this Court has ruled, pursuant to the Emergency Order, should be kept under
  seal until such time as the record can be more fully reviewed so as to preserve the status quo.
  Specifically, the Document contains references to the alleged unlawful acts of third parties,
  pornography, child pornography, adult webmaster conferences, and “Methbot,” much of which
  constitutes hearsay or is unreliable. The materials and information referenced, if made public,
  would cause substantial and likely injury to Plaintiffs (as detailed in Plaintiffs’ briefings on the
  Emergency Order and elsewhere). Some of the materials and information are also unreliable (as
  detailed in Plaintiffs’ briefings on the Emergency Order and elsewhere).
         Accordingly, Plaintiffs believe that there is good cause for sealing the documents.


                                                    1
Case 0:17-cv-60426-UU Document 379 Entered on FLSD Docket 12/10/2018 Page 2 of 3




  Dated: December 10, 2018

  Respectfully Submitted:

  /s/ Evan Fray-Witzer
  Evan Fray-Witzer (pro hac vice)
  CIAMPA FRAY-WITZER, LLP
  20 Park Plaza, Suite 505
  Boston, Massachusetts 02116
  Telephone: 617-426-0000
  Facsimile: 617-423-4855
  Evan@CFWLegal.com

  /s/ Valentin Gurvits
  Valentin D. Gurvits (pro hac vice)
  Matthew Shayefar (Fla. Bar No. 0126465)
  BOSTON LAW GROUP, PC
  825 Beacon Street, Suite 20
  Newton Centre, Massachusetts 02459
  Telephone: 617-928-1804
  Facsimile: 617-928-1802
  vgurvits@bostonlawgroup.com
  matt@bostonlawgroup.com

  /s/ Brady J. Cobb
  Brady J. Cobb (Fla. Bar No. 031018)
  Dylan Fulop (Fla. Bar No. 123809)
  COBB EDDY, PLLC
  1112 North Flagler Drive
  Fort Lauderdale, Florida 33304
  Telephone: 954-527-4111
  Facsimile: 954-900-5507
  bcobb@cobbeddy.com
  dfulop@cobbeddy.com

  Attorneys for Plaintiffs




                                            2
Case 0:17-cv-60426-UU Document 379 Entered on FLSD Docket 12/10/2018 Page 3 of 3




                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  email on all counsel or parties of record on the service list below on December 10, 2018.


                                                       /s/ Matthew Shayefar
                                                       Matthew Shayefar


                                          SERVICE LIST

  Katherine M. Bolger
  Adam Lazier
  Davis Wright Tremaine, LLC
  1251 Avenue of the Americas, 21st Floor
  New York, New York 10020
  katebolger@dwt.com
  adamlazier@dwt.com

  Nathan Siegel
  Alison Schary
  Davis Wright Tremaine LLP
  1919 Pennsylvania Avenue, Suite 800
  Washington, DC 20006
  nathansiegel@dwt.com
  alisonschary@dwt.com

  Roy Eric Black
  Jared M. Lopez
  Black Srebnick Kornspan & Stumpf
  201 S Biscayne Boulevard, Suite 1300
  Miami, Florida 33131
  rblack@royblack.com
  jlopez@royblack.com




                                                  3
